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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


LISA TAYLOR-AUSTIN, individually and
on behalf of all others similarly situated,

                      Plaintiff,


                      v.
                                                        Case No.:____________________
YALE NEW HAVEN HEALTH
SERVICES CORP.,

                      Defendant.

                                                        JURY TRIAL DEMANDED


                                CLASS ACTION COMPLAINT

       Plaintiff, Lisa Taylor-Austin, (“Plaintiff”) brings this Class Action Complaint against

Defendant Yale New Haven Health Services Corp., (“Defendant”) as an individual and on behalf

of all others similarly situated, and alleges, upon personal knowledge as to Plaintiff’s own actions

and to counsels’ investigation, and upon information and belief as to all other matters, as follows:

                                   NATURE OF THE ACTION

       1.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard the protected health information (“PHI”) and other personally identifiable

information (“PII”) of its patients and/or employees, including, but not limited to: full names,

Social Security Numbers, dates of birth, addresses, telephone numbers, email addresses,

ethnicities, patient types, and medical record numbers.

       2.      In early March of 2025, Defendant detected unusual activity that disrupted access

to its network and determined that Plaintiff’s personal information—which was entrusted to
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Defendant on the mutual understanding that Defendant would protect it against unauthorized

disclosure—was accessed and exfiltrated in a data breach (hereafter referred to as the “Data

Breach”).

       3.      Upon information and belief, the mechanism of the cyberattack and potential for

improper disclosure of Plaintiff’s data was a known risk to Defendant, and thus, Defendant was

on notice that failing to take steps necessary to secure the information from those risks left the data

in a dangerous condition.

       4.      The Data Breach was a direct result of Defendant’s failure to implement reasonable

safeguards to protect PHI/PII from a foreseeable and preventable risk of unauthorized disclosure.

Had Defendant implemented administrative, technical, and physical controls consistent with

industry standards and best practices, it could have prevented the Data Breach.

       5.      Plaintiff brings this class action lawsuit individually, and on behalf of all those

similarly situated, to address Defendant’s inadequate data protection practices.

       6.      As a result of the Data Breach, Class Members, later defined, suffered injuries

including, but not limited to: (i) invasion of privacy; (ii) theft of PHI/PII; (iii) lost or diminished

value of PII; (iv) lost time and opportunity costs associated with attempting to investigate or

mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi)

statutory damages; (vii) actual damages; and (viii) the continued and increased risk their PII will

be further misused, where: (a) their data remains unencrypted and available for unauthorized third

parties to access on the dark web or otherwise; and (b) remains backed up under Defendant’s

possession or control and is subject to further unauthorized disclosures so long as Defendant fails

to implement appropriate and reasonable measures to protect the data. Through this Complaint,




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Plaintiff seeks to remedy these harms individually, and on behalf of all similarly situated

individuals whose PHI/PII was accessed during the Data Breach.

        7.      Plaintiff has a continuing interest in ensuring that personal information is kept

confidential and protected from disclosure, and Plaintiff should be entitled to injunctive and other

equitable relief.

                                   JURISDICTION & VENUE

        8.      This Court has subject matter jurisdiction over this action pursuant to the Class

Action Fairness Act (“CAFA”), 28 U.S.C.§1332, because this is a class action wherein the amount

in controversy exceeds the sum or value of $5,000,000.00, exclusive of interest and costs, there

are more than 100 members in the proposed class, and at least one member of the class is a citizen

of a state different from each Defendant.

        9.      This Court has personal jurisdiction over Defendant because its principal place of

business is in the State of Connecticut. Defendant has also purposefully availed itself of the laws,

rights, and benefits of the State of Connecticut.

        10.     Venue is proper under 28 U.S.C §1391(b) because Defendant maintains a principal

place of business in this District and a substantial part of the events and omissions giving rise to

Plaintiff’s claims occurred in and emanated from this District.

                                             PARTIES

        11.     Plaintiff Lisa Taylor-Austin is a resident and citizen of Milford, Connecticut, which

is located in New Haven County. Plaintiff was, and remains, a patient at Yale New Haven Health.

        12.     Defendant, Yale New Haven Health Services Corp.., is a health care provider and

Connecticut corporation that provides a variety of healthcare and related services to its patients.




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Yale New Haven Health Services Corp. has its principal place of business located at 789 Howard

Ave., New Haven, Connecticut 06519.

                                     FACTUAL ALLEGATIONS

       13.      Plaintiff brings this class action against Defendant for its failure to properly secure

and safeguard the protected health information (“PHI”) and other personally identifiable

information (“PII”) of its patients and/or employees.

       14.      Medical records represent the most sensitive information available concerning a

person’s private affairs. These records reveal intimate and personal aspects of the human condition,

such as illnesses that might carry social stigma and details about substance abuse, family planning

and mental health. Congress has passed legislation under the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”) to protect this highly confidential data, because in the

wrong hands, bad actors may target and exploit the most sensitive and vulnerable populations

among the public.

       15.      While providing a health care service, Defendant collects, creates, or shares

information about health status, the provision of health care, or payment for health care that can

be used to identify an individual.

       16.      Plaintiff Taylor-Austin was a patient of Defendant, her last visit prior to the Data

Breach was in October 2024. Plaintiff provided her name, Social Security Number, date of birth,

and other personal or health related information to Defendant as part of the physician-patient

relationship.

       17.      In March 2025, Defendant detected unusual activity that disrupted access to its

network and determined that Plaintiff’s personal information—which was entrusted to Defendant




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on the mutual understanding that Defendant would protect it against unauthorized disclosure—

was accessed and exfiltrated in the Data Breach.

        18.      On or about March 11, 2025, the Defendant advised, via its website, they had

identified an issue affecting IT Services across their system 1.

        19.     On April 11, 2025, the Defendant issued a follow up statement on its website

advising the Data Breach occurred on March 8, 2025, and that they were in the process of notifying

current and former patients2.

        20.     Near the end of March 2025, an unauthorized individual withdrew $1,000 from

Plaintiff Taylor-Austin’s account at Bank No.1. 3 Plaintiff Taylor-Austin was forced to get a new

debit card as a result of this transaction.

        21.     Plaintiff Taylor-Austin was very careful and protective of her financial information

and had not experienced any prior fraud on her financial accounts before these incidents. After the

banking incidents, Plaintiff Taylor-Austin purchased credit monitoring and identity theft

protection services. Plaintiff also checks her accounts regularly for any evidence of fraud.

        22.     Plaintiff estimates she spent between 10-15 hours resolving issues related to the

fraudulent activity like making phone calls, investigating accounts for fraud, restoring

compromised bank accounts/cards, providing the banks necessary information to support claims,

or addressing declined/late payment fees.

        23.     Additionally, beginning in late March 2025, following the Data Breach, Plaintiff

noticed receipt of significant amounts of “phishing” Emails requesting her personal information,

which, to this day, requires an ongoing investment of time and energy to remedy.


1
  https://www.ynhhs.org/news/yale-new-haven-health-statement-addressing-it-services
2
  https://www.ynhhs.org/news/yale-new-haven-health-notifies-patients-of-data-security-incident
3
  Since Plaintiff Taylor-Austin has already experienced fraud and sensitive data has been exposed in this data
breach, counsel is using fictitious names for her banking institutions to protect her privacy.


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          24.      On, or about, April 11, 2025, the defendant, on its website advised that it is in the

process of notifying current and former patients about the Data Breach 4.

          25.      Upon information and belief, the mechanism of the cyberattack and potential for

improper disclosure of Plaintiff’s data was a known risk to Defendant, and thus, Defendant was

on notice that failing to take steps necessary to secure the information from those risks left the data

in a dangerous condition.

          26.      The Data Breach was a direct result of Defendant’s failure to implement reasonable

safeguards to protect PHI/PII from a foreseeable and preventable risk of unauthorized disclosure.

Had Defendant implemented administrative, technical, and physical controls consistent with

industry standards and best practices, it could have prevented the Data Breach.

          27.      Defendant’s conduct resulted in the unauthorized disclosure of Plaintiff’s private

information to cybercriminals. The unauthorized disclosure of Plaintiff’s PHI/PII constitutes an

invasion of a legally protected privacy interest, that is traceable to the Defendant’s failure to

adequately secure the PHI/PII in its custody, and has resulted in actual, particularized, and concrete

harm to the Plaintiff. The injuries Plaintiff suffered, as described herein, can be redressed by a

favorable decision in this matter.

          28.      Defendant has not provided any assurances that: all data acquired in the Data

Breach, or copies thereof, have been recovered or destroyed; or, that Defendant has modified its

data protection policies, procedures, and practices sufficient to avoid future, similar, data breaches.

          29.      “Data breaches in healthcare have reached alarming levels, with the Office of Civil

Rights reporting 725 notifications of breaches in 2023, where more than 133 million records were




4
    https://www.ynhhs.org/news/yale-new-haven-health-notifies-patients-of-data-security-incident


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exposed or impermissibly disclosed.”5 Plaintiff faces a substantial risk of future identity theft or

fraud where Plaintiff’s identifying information was obtained by cybercriminals in a targeted attack.

Medical identity theft, for example, involves the misuse of a person’s unique medical identity to

wrongfully obtain health care goods, services, or funds.6 Medical identity theft “can result in bills

for procedures the patient has never had, inaccurate medical records, and potentially life-

threatening care.”7

        30.     Typically, hackers sell the personal information in medical records “to criminals

who create phony providers to submit fraudulent claims on a mass scale that can result in hundreds

of millions of dollars in Medicaid, Medicare, or other insurance fraud.” 8

        31.     Defendant’s conduct, as evidenced by the circumstances of the Data Breach, has

resulted in actual fraud and creates an imminent risk of future identity theft, fraud, or other forms

of exploitation. The circumstances demonstrating a substantial risk of future exploitation include,

but are not limited to:

               a. Sensitive Data Type: The data acquired in the Data Breach included
                  unencrypted social security numbers, dates of birth, and healthcare records.
                  Upon information and belief, this category of data is used by cybercriminals to
                  perpetuate fraud, identity theft, and other forms of exploitation. 9
               b. Data Breach Type: Upon information and belief, the data breach occurred as a
                  result of a compromise of the Defendant’s IT System.
               c. Data Misuse: Since the Data Breach, Plaintiff-Taylor Austin reports receiving
                  notification that her Social Security Number is on the “dark web”. The dark web
                  uses a series of encrypted networks to hide users’ identities, which makes it
                  convenient for criminals to buy and sell illegally obtained data. Many criminals

5
      Healthcare       fraud   and      the   burden     of    medical      ID    theft,   available     at:
https://www.experian.com/blogs/healthcare/healthcare-fraud-and-the-burden-of-medical-id-theft/
6
  See, Common Types of Health Care Fraud, Center for Medicare & Medicaid Services (CMS) Fact Sheet,
available at: https://www.cms.gov/files/document/overviewfwacommonfraudtypesfactsheet072616pdf
7
      Healthcare       fraud   and      the   burden     of    medical      ID    theft,   available     at:
https://www.experian.com/blogs/healthcare/healthcare-fraud-and-the-burden-of-medical-id-theft/
8
  Someone could steal your medical records and bill you for their care. https://www.npr.org/sections/health-
shots/2023/07/26/1189831369/medical-identity-fraud-protect-yourself
9
  https://www.f-secure.com/us-en/articles/why-do-hackers-want-your-personal-information


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                  purchase stolen personal data off the dark web before attempting to commit
                  fraud. Upon information and belief, the data stolen in this Data Breach was used
                  to commit or attempt fraud on Plaintiff’s bank accounts.
       32.     Additionally, the imminent risk of future harm resulting from the Data Breach is

traceable to the Defendant’s failure to adequately secure the PHI/PII in its custody, and has created

a separate, particularized, and concrete harm to the Plaintiff and prospective Class.

       33.     More specifically, the exposure to the Data Breach caused them to: (i) spend money

on mitigation measures like credit monitoring services and/or dark web searches; (ii) lose time and

effort spent responding to the Data Breach; and/or (iii) experience emotional distress associated

with reviewing accounts for fraud, changing usernames and passwords or closing accounts to

prevent fraud, and general anxiety over the consequences of the Data Breach. The harm Plaintiff

suffered can be redressed by a favorable decision in this matter.

       34.     Plaintiff’s mitigation measures were not a self-inflicted harm, as these actions were

taken after the data breach and resulting fraud occurred but before Defendant provided Plaintiff

with the breach notice letter.

       35.     Armed with the PII acquired in the Data Breach, data thieves have already engaged

in theft and can, in the future, commit a variety of crimes including, opening new financial

accounts, taking out loans, using Plaintiff’s information to obtain government benefits, commit

medical/insurance fraud, file fraudulent tax returns, obtain driver’s licenses, and give false

information to police during an arrest.

       36.     As a result of the Data Breach, Plaintiff and Class Members suffered injuries

including, but not limited to: (i) invasion of privacy; (ii) theft of PHI/PII; (iii) lost or diminished

value of PII; (iv) lost time and opportunity costs associated with attempting to investigate/mitigate

the actual consequences of the Data Breach; (v) loss of benefit of the bargain; (vi) longer wait

times and/or delayed medical procedures; (vii) statutory damages; (viii) actual damages; and (ix)


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the continued and increased risk their PII will be further misused, where: (a) their data remains

unencrypted and available for unauthorized third parties to access on the dark web or otherwise;

and (b) remains backed up under Defendant’s possession or control and is subject to further

unauthorized disclosures so long as Defendant fails to implement appropriate and reasonable

measures to protect the data.

        37.     Plaintiff brings this class action lawsuit individually, and on behalf of all those

similarly situated, to address Defendant’s inadequate data protection practices and for failing to

provide timely and adequate notice of the Data Breach.

        38.     Through this Complaint, Plaintiff seeks to remedy these harms individually, and on

behalf of all similarly situated individuals whose PHI/PII was accessed during the Data Breach.

        39.     Plaintiff has a continuing interest in ensuring that personal information is kept

confidential and protected from disclosure, and Plaintiff should be entitled to injunctive and other

equitable relief.

        40.     Defendant is covered by HIPAA (see 45 C.F.R. §160.102) and as such is required

to comply with the HIPAA Privacy Rule, 45 C.F.R Part 160 and Part 164, Subparts A and E

(“Standards for Privacy of Individually Identifiable Health Information”), and Security Rule

(“Security Standards for the Protection of Electronic Protected Health Information”), 45 C.F.R.

Part 160 and Part 164, Subparts A and C.

        41.     The HIPAA Privacy Rule and Security Rule establishes standards for the protection

of protected health information, defined as “individually identifiable health information” which

either “identifies the individual” or where there is a “reasonable basis to believe the information

can be used to identify the individual,” that is held or transmitted by a covered entity. See 45 C.F.R.

§ 160.103.




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       42.     The Privacy Rule requires Defendant to implement appropriate safeguards to

protect the privacy of protected health information. The Security Rule requires Defendant to

implement appropriate administrative, physical and technical safeguards to ensure the

confidentiality, integrity, and security of electronic protected health information. The HIPAA rules

also require Defendant to provide notice of an unauthorized disclosure of unencrypted protected

health information, without unreasonable delay and in no case later than 60 calendar days after

discovery of a breach.

       43.     During their relationship, Defendant collected or created PHI/PII related to Plaintiff

and Class Members.

       44.     Defendant was obligated to use reasonable technical, administrative, and physical

safeguards to protect the PHI/PII it collected or created.

       45.     Plaintiff and the Class Members relied on Defendant’s representations and on this

sophisticated business entity to keep their PHI/PII confidential, securely maintained, and to make

only authorized disclosures of this information.

                                   Data Breaches Are Avoidable

       46.     Upon information and belief, the mechanism of the cyberattack and potential for

improper disclosure of Plaintiff’s information was a known risk to Defendant, and thus, Defendant

was on notice that failing to take steps necessary to secure the data from those risks left the data in

a dangerous condition.

       47.     Upon information and belief, the Data Breach was a direct result of Defendant’s

failure to: (i) identify risks and potential effects of collecting, maintaining, and sharing personal

information; (ii) adhere to its published privacy practices; (iii) implement reasonable data

protection measures for the collection, use, disclosure, and storage of PHI/PII; and/or (iv) ensure




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its third-party vendors were required to implement reasonable data protection measures consistent

with Defendant’s data protection obligations.

          48.   Upon information and belief, the Data Breach occurred as the result of a

ransomware attack. In a ransomware attack, the attackers use software to encrypt data on a

compromised network, rendering it unusable and then demand payment to restore control over the

network.10 Ransomware groups frequently implement a double extortion tactic, “where the

cybercriminal posts portions of the data to increase their leverage and force the victim to pay the

ransom, and then sells the stolen data in cybercriminal forums and dark web marketplaces for

additional revenue.”11

          49.   The Office of Civil Rights (“OCR”), within the Department of Health and Human

Services (“HHS”), has issued guidance documents regarding compliance with the HIPAA Security

Rule. See 45 C.F.R. §§ 164.302-164.318. For example, HHS has developed guidance and tools to

assist HIPAA covered entities in identifying and implementing the most cost effective and

appropriate administrative, physical, and technical safeguards to protect the confidentiality,

integrity, and availability of e-PHI and comply with the risk analysis requirements of the Security

Rule.12

          50.   To detect and prevent cyber-attacks, Defendant could and should have

implemented administrative, physical, and technical safeguards including, but not limited to, the

following:

     Administrative Safeguards


10
   Ransomware FAQs, https://www.cisa.gov/stopransomware/ransomware-faqs (accessed June 11, 2024).
11
        Ransomware:        The       Data      Exfiltration     and       Double      Extortion       Trends,
https://www.cisecurity.org/insights/blog/ransomware-the-data-exfiltration-and-double-extortion-trends
(accessed June 11, 2024).
12
    See, U.S. Department of Health & Human Services, Security Rule Guidance Material,
http://www.hhs.gov/hipaa/for-professionals/security/guidance/index.html


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   a. Implement policies and procedures to prevent, detect, contain, and correct security
      violations.
   b. Conduct an accurate and thorough assessment of the potential risks and
      vulnerabilities to the confidentiality, integrity, and availability of electronic
      protected health information held by the Defendant.
   c. Implement security measures sufficient to reduce risks and vulnerabilities to a
      reasonable and appropriate level.
   d. Apply appropriate sanctions against employees who fail to comply with the
      Defendant’s security policies and procedures.
   e. Implement procedures to regularly review records of information system activity,
      such as audit logs, access reports, and security incident tracking reports.
   f. Identify a security official who is responsible for the development and
      implementation of the Defendant’s policies and procedures to prevent, detect,
      contain, and correct security violations.
   g. Implement procedures: (i) for the authorization and/or supervision of employees
      who work with electronic protected health information or in locations where it
      might be accessed; (ii) to determine whether an employee’s access to electronic
      protected health information is appropriate; and (iii) for terminating access to
      electronic protected health information when the employment of, or other
      arrangement with, a workforce member ends.
   h. Implement policies and procedures that, based upon the Defendant’s access
      authorization policies, establish, document, review, and modify a user's right of
      access to a workstation, transaction, program, or process.
   i. Implement a security awareness and training program for all members of
      Defendant’s workforce, including procedures for guarding against, detecting, and
      reporting malicious software.
   j. Implement policies and procedures to address how the Defendant will identify and
      respond to suspected or known security incidents; mitigate, to the extent
      practicable, known harmful effects of security incidents; and document security
      incidents and their outcomes.
   k. Establish (and implement as needed) policies and procedures for responding to an
      emergency or other occurrence that damages systems that contain electronic
      protected health information.
   l. Perform a periodic technical and nontechnical evaluation in response to
      environmental or operational changes affecting the security of electronic protected
      health information.
   m. Contractually obtain satisfactory assurances that business associates will
      appropriately safeguard electronic protected health information.
   n. Create a “culture of security” by implementing a regular schedule of employee
      training. Update employees as you find out about new risks and vulnerabilities.



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          o. Tell employees about your company policies regarding keeping information secure
             and confidential. Post reminders in areas where sensitive information is used or
             stored, as well as where employees congregate.
          p. Teach employees about the dangers of spear phishing—emails containing
             information that makes the emails look legitimate. These emails may appear to
             come from someone within your company, generally someone in a position of
             authority. Make it office policy to independently verify any emails requesting
             sensitive information.

Physical Safeguards
          q. Implement policies and procedures to limit physical access to its electronic
             information systems and the facility or facilities in which they are housed, while
             ensuring that properly authorized access is allowed.
          r. Implement policies and procedures that specify the proper functions to be
             performed, the way those functions are to be performed, and the physical attributes
             of the surroundings of a specific workstation or class of workstation that can access
             electronic protected health information.
          s. Implement policies and procedures that govern the receipt and removal of hardware
             and electronic media that contain electronic protected health information into and
             out of a facility, and the movement of these items within the facility.
Technical Safeguards
          t. Implement technical policies and procedures for electronic information systems
             that maintain electronic protected health information to allow access only to those
             persons or software programs that have been granted access rights.
          u. Implement electronic procedures that terminate an electronic session after a
             predetermined time of inactivity.
          v. Implement a mechanism to encrypt and decrypt electronic protected health
             information.
          w. Implement hardware, software, and/or procedural mechanisms that record and
             examine activity in information systems that contain or use electronic protected
             health information.
          x. Implement procedures to verify that a person or entity seeking access to electronic
             protected health information is the one claimed.
          y. Regularly patch critical vulnerabilities in operating systems, software, and
             firmware on devices. Consider using a centralized patch management system.
          z. Check expert websites (such as www.us-cert.gov) and your software vendors’
             websites regularly for alerts about new vulnerabilities and implement policies for
             installing vendor-approved patches to correct problems.
          aa. Assess the vulnerability of each connection to commonly known or reasonably
              foreseeable attacks. Depending on your circumstances, appropriate assessments



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               may range from having a knowledgeable employee run off-the-shelf security
               software to having an independent professional conduct a full-scale security audit.
           bb. Scan computers on your network to identify and profile the operating system and
               open network services. If you find services that you don’t need, disable them to
               prevent hacks or other potential security problems.
           cc. Enable strong spam filters to prevent phishing emails from reaching the end users
               and authenticate inbound email.
           dd. Scan all incoming and outgoing emails to detect threats and filter executable files
               from reaching end users.
           ee. Configure firewalls to block access to known malicious IP addresses.
           ff. Set anti-virus and anti-malware programs to conduct regular scans automatically.
           gg. Manage the use of privileged accounts based on the principle of least privilege: no
               users should be assigned administrative access unless absolutely needed; and those
               with a need for administrator accounts should only use them when necessary.
           hh. Configure access controls—including file, directory, and network share
               permissions— with least privilege in mind. If a user only needs to read specific
               files, the user should not have “write” access to those files, directories, or shares.
           ii. Disable macro scripts from office files transmitted via email. Consider using Office
               Viewer software to open Microsoft Office files transmitted via email instead of full
               office suite applications.
           jj. Implement Software Restriction Policies (SRP) or other controls to prevent
               programs from executing from common ransomware locations, such as temporary
               folders supporting popular Internet browsers or compression/decompression
               programs, including the AppData/LocalAppData folder.
           kk. Consider disabling Remote Desktop protocol (RDP) if it is not being used.
           ll. Use application whitelisting, which only allows systems to execute programs
               known and permitted by security policy.
           mm.       Execute operating system environments or specific programs in a
             virtualized environment.
           nn. Categorize data based on organizational value and implement physical and logical
               separation of networks and data for different organizational units.
           oo. Conduct an annual penetration test and vulnerability assessment.
           pp. Secure your backups.13
           qq. Identify the computers or servers where sensitive personal information is stored.
           rr. Identify all connections to the computers where you store sensitive information.
               These may include the internet, electronic cash registers, computers at your branch

13
  How to Protect Your Networks from Ransomware, at p.3, https://www.fbi.gov/file-repository/ransomware-
prevention-and-response-for-cisos.pdf/view (accessed June 11, 2024).


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                offices, computers used by service providers to support your network, digital
                copiers, and wireless devices like smartphones, tablets, or inventory scanners.
             ss. Don’t store sensitive consumer data on any computer with an internet connection
                 unless it’s essential for conducting your business.
             tt. Encrypt sensitive information that you send to third parties over public networks
                 (like the internet) and encrypt sensitive information that is stored on your computer
                 network, laptops, or portable storage devices used by your employees. Consider
                 also encrypting email transmissions within your business.
             uu. Regularly run up-to-date anti-malware programs on individual computers and on
                 servers on your network.
             vv. Restrict employees’ ability to download unauthorized software. Software
                 downloaded to devices that connect to your network (computers, smartphones, and
                 tablets) could be used to distribute malware.
             ww.       To detect network breaches when they occur, consider using an intrusion
               detection system.
             xx. Before you outsource any of your business functions investigate the company’s
                 data security practices and compare their standards to yours. 14
       51.      Given that Defendant collected, used, and stored PHI/PII, Defendant could and

should have identified the risks and potential effects of collecting, maintaining, and sharing

personal information.

       52.      Without identifying the potential risks to the personal data in Defendant’s

possession, Defendant could not identify and implement the necessary measures to detect and

prevent cyberattacks. The occurrence of the Data Breach indicates that Defendant failed to

adequately implement one or more of the above measures to prevent cyberattacks, resulting in the

Data Breach and the exposure of Plaintiff’s and the Class Members’ PHI/PII.

       53.      Defendant knew and understood unencrypted PHI/PII is valuable and highly sought

after by cybercriminals seeking to illegally monetize that data. At all relevant times, Defendant

knew, or reasonably should have known, of the importance of safeguarding PHI/PII and of the



14
     Protecting Personal Information: A Guide for Business, https://www.ftc.gov/business-
guidance/resources/protecting-personal-information-guide-business (accessed June 11, 2024).



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foreseeable consequences that would occur if a data breach occurred, including the significant cost

that would be imposed on Plaintiff and the Class Members as a result.


             Plaintiff and Class Members Sustained Damages in the Data Breach

       54.     The invasion of the Plaintiff’s and Class Members’ privacy suffered in this Data

Breach constitutes an actual, particularized, redressable injury traceable to the Defendant’s

conduct. Because of the Data Breach, Plaintiff and Class Members sustained monetary damages

that exceed the sum or value of $5,000,000.00.

       55.     Additionally, Plaintiff and Class Members face a substantial risk of future identity

theft, fraud, or other exploitation where their names, social security numbers, and dates of birth

were targeted by a sophisticated hacker known for stealing and reselling sensitive data on the dark

web. The substantial risk of future identity theft and fraud created by the Data Breach constitutes

a redressable injury traceable to the Defendant’s conduct.

       56.     Furthermore, Plaintiff and Class Members face a substantial risk of future spam,

phishing, or other attacks designed to trick them into sharing sensitive data, downloading malware,

or otherwise exposing themselves to cybercrime, where their names, phone numbers, and email

addresses were acquired in the Data Breach and subsequently released on the dark web. The

substantial risk of future exploitation created by the Data Breach constitutes a redressable injury

traceable to the Defendant’s conduct.

       57.     Upon information and belief, a criminal can easily link data acquired in the Data

Breach with information available from other sources to commit a variety of fraud related crimes.

An example of criminals piecing together bits and pieces of data is the development of “Fullz”




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packages.15 With “Fullz” packages, cyber-criminals can combine multiple sources of PII to apply

for credit cards, loans, assume identities, or take over accounts.

        58.      Given the type of targeted attack in this case, the sophistication of the criminal

responsible for the Data Breach, the categories of data involved in the Data Breach, hacker’s

behavior in prior data breaches, the ability of criminals to link data acquired in the Data Breach

with information available from other sources, and the fact that the stolen information has been

placed on the dark web, it is reasonable for Plaintiff and the Class Members to assume that their

PHI/PII was obtained by, or released to, criminals intending to utilize the data for future identity

theft-related crimes or exploitation attempts.

        59.      The substantial risk of future identity theft, fraud, or other exploitation that Plaintiff

and Class Members face is sufficiently concrete, particularized, and imminent that it necessitates

the present expenditure of funds to mitigate the risk. Consequently, Plaintiff and Class Members

have spent, and will spend additional time in the future, on a variety of prudent actions to

understand and mitigate the effects of the Data Breach.

        60.      For example, the Federal Trade Commission has recommended steps that data

breach victims take to protect themselves and their children after a data breach, including: (i)

contacting one of the credit bureaus to place a fraud alert (consider an extended fraud alert that

lasts for seven years if someone steals their identity); (ii) regularly obtaining and reviewing their

credit reports; (iii) removing fraudulent charges from their accounts; (iv) closing new accounts




15
   “Fullz” is term used by cybercriminals to describe “a package of all the personal and financial records that
thieves would need to fraudulently open up new lines of credit in a person’s name.” A Fullz package typically
includes the victim’s name, address, credit card information, social security number, date of birth, bank name,
routing number, bank account numbers and more. See, e.g., Brian Krebs, Medical Records for Sale in
Underground Stolen From Texas Life Insurance Firm, Krebs on Security (Sep. 18, 2014),
https://krebsonsecurity.com/2014/09/medical-records-for-sale-in-underground-stolen-from-texas-life-
insurance-firm


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opened in their name; (v) placing a credit freeze on their credit; (vi) replacing government-issued

identification; (vii) reporting misused Social Security numbers; (viii) contacting utilities to ensure

no one obtained cable, electric, water, or other similar services in their name; and (ix) correcting

their credit reports.16

        61.      Because of the Data Breach, Plaintiff and Class Members sustained or will incur

monetary damages to mitigate the effects of an imminent risk of future injury. The retail cost of

credit monitoring and identity theft monitoring can cost around $200 a year. The cost of dark web

scanning and monitoring services can cost around $180 per year.

        62.      As a result of the Data Breach, Plaintiff’s and Class Members’ PHI/PII has been

damaged and diminished by its unauthorized release. However, this transfer of value occurred

without any consideration paid to Plaintiff or Class Members for their property, resulting in an

economic loss. Moreover, the PHI/PII is now readily available, and the rarity of the data has been

lost, thereby causing additional loss of value.

        63.      Personal information is of great value, in 2019, the data brokering industry was

worth roughly $200 billion.17 Data such as name, address, phone number, and credit history has

been sold at prices ranging from $40 to $200 per record. 18 Sensitive PII can sell for as much as

$363 per record.19 Further, a stolen medical identity has a $50 value on the black market. 20




16
   See Federal Trade Commission, Identity Theft.gov, https://www.identitytheft.gov/Steps
17
        Column: Shadowy        data      brokers      make      the    most     of   their     invisibility    cloak,
https://www.latimes.com/business/story/2019-11-05/column-data-brokers
18
   In the Dark, VPNOverview, 2019, available at: https://vpnoverview.com/privacy/anonymous-browsing/in-the-
dark/
19
    See, e.g., John T. Soma, et al, Corporate Privacy Trend: The “Value” of Personally Identifiable Information
(“PII”) Equals the “Value" of Financial Assets, 15 Rich. J.L. & Tech. 11, at *3-4 (2009) (“PII, which companies
obtain at little cost, has quantifiable value that is rapidly reaching a level comparable to the value of traditional
financial assets.”) (citations omitted).
20
      Study: Few Aware of Medical Identity Theft Risk, Claims Journal (June 14, 2012),
https://www.claimsjournal.com/news/national/2012/06/14/208510.htm


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       64.     Furthermore, Defendant’s poor data security practices deprived Plaintiff and Class

Members of the benefit of their bargain. By transacting business with Plaintiff and Class Members,

collecting their PHI/PII, and then permitting the unauthorized disclosure of the information,

Plaintiff and Class Members were deprived of the benefit of their bargain.

       65.     When agreeing to pay Defendant for products or services, consumers understood

and expected that they were, in part, paying for the protection of their personal data, when in fact,

Defendant did not invest the funds into implementing reasonable data security practices.

Accordingly, Plaintiff and Class Members received services that were of a lesser value than what

they reasonably expected to receive under the bargains they struck with Defendant.

       66.     Through this Complaint, Plaintiff seeks redress individually, and on behalf of all

similarly situated individuals, for the damages that resulted from the Data Breach.

                                    CLASS ALLEGATIONS

       67.     Plaintiff brings this nationwide class action individually, and on behalf of all

similarly situated individuals, pursuant to Rule 23(b)(2), 23(b)(3), and 23(c)(4) of the Federal

Rules of Civil Procedure.

       68.     The Class that Plaintiff seeks to represent is defined as follows:

   Nationwide Class (the “Class”)
      All individuals residing in the United States whose PHI/PII was accessed and acquired by
      an unauthorized party as a result of a data breach that occurred on, or about, March 8, 2025,
      as reported by Defendant.

       69.     The Class may be referred to as the “Class” or “Class Members.”

       70.     Excluded from the Class are the following individuals and/or entities: Defendant

and Defendant’s parents, subsidiaries, affiliates, officers and directors, and any entity in which

Defendant has a controlling interest; all individuals who make a timely election to be excluded




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from this proceeding using the correct protocol for opting out; and all judges assigned to hear any

aspect of this litigation, as well as their immediate family members.

       71.      Plaintiff reserves the right to amend the definitions of the Classes or add a Class or

Subclass if further information and discovery indicate that the definitions of the Classes should be

narrowed, expanded, or otherwise modified.

       72.      Numerosity: The members of the Classes are so numerous that joinder of all

members is impracticable, if not completely impossible. The members of the Classes are so

numerous that joinder of all of them is impracticable. While the exact number of Class Members

is unknown to Plaintiff at this time and such number is exclusively in the possession of Defendant.

       73.      Common questions of law and fact exist as to all members of the Classes and

predominate over any questions affecting solely individual members of the Classes. The questions

of law and fact common to the Classes that predominate over questions which may affect

individual Class Members, includes the following:

             a. Whether and to what extent Defendant had a duty to protect the PHI/PII of Plaintiff
                and Class Members;
             b. Whether Defendant had a duty not to disclose the PHI/PII of Plaintiff and Class
                Members to unauthorized third parties;
             c. Whether Defendant failed to adequately safeguard the PHI/PII of Plaintiff and Class
                Members;
             d. Whether Defendant required its third-party vendors to adequately safeguard the
                PHI/PII of Plaintiff and Class Members;
             e. When Defendant actually learned of the Data Breach;
             f. Whether Defendant adequately, promptly, and accurately informed Plaintiff and
                Class Members that their PHI/PII had been compromised;
             g. Whether Defendant violated the law by failing to promptly notify Plaintiff and
                Class Members that their PHI/PII had been compromised;
             h. Whether Defendant failed to implement and maintain reasonable security
                procedures and practices appropriate to the nature and scope of the information
                compromised in the Data Breach;



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             i. Whether Defendant adequately addressed and fixed the practices, procedures, or
                vulnerabilities which permitted the Data Breach to occur;
             j. Whether Plaintiff and Class Members are entitled to actual damages, statutory
                damages, and/or nominal damages as a result of Defendant’s wrongful conduct;
             k. Whether Plaintiff and Class Members are entitled to injunctive relief to redress the
                imminent and ongoing harm faced as a result of the Data Breach.
       74.      Typicality: Plaintiff’s claims are typical of those of the other members of the

Classes because Plaintiff, like every other Class Member, was exposed to virtually identical

conduct and now suffers from the same violations of the law as each other member of the Classes.

       75.      Policies Generally Applicable to the Class: This class action is also appropriate for

certification because Defendant acted or refused to act on grounds generally applicable to the

Classes, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards

of conduct toward the Class Members and making final injunctive relief appropriate with respect

to the Classes as a whole. Defendant’s policies challenged herein apply to and affect Class

Members uniformly and Plaintiff’s challenges of these policies hinges on Defendant’s conduct

with respect to the Classes as a whole, not on facts or law applicable only to Plaintiff.

       76.      Adequacy: Plaintiff will fairly and adequately represent and protect the interests of

the Class Members in that Plaintiff has no disabling conflicts of interest that would be antagonistic

to those of the other Class Members. Plaintiff seeks no relief that is antagonistic or adverse to the

Class Members and the infringement of the rights and the damages suffered are typical of other

Class Members. Plaintiff has retained counsel experienced in complex class action and data breach

litigation, and Plaintiff intends to prosecute this action vigorously.

       77.      Superiority and Manageability: The class litigation is an appropriate method for fair

and efficient adjudication of the claims involved. Class action treatment is superior to all other

available methods for the fair and efficient adjudication of the controversy alleged herein; it will

permit a large number of Class Members to prosecute their common claims in a single forum


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simultaneously, efficiently, and without the unnecessary duplication of evidence, effort, and

expense that hundreds of individual actions would require. Class action treatment will permit the

adjudication of relatively modest claims by certain Class Members, who could not individually

afford to litigate a complex claim against large corporations, like Defendant. Further, even for

those Class Members who could afford to litigate such a claim, it would still be economically

impractical and impose a burden on the courts.

        78.     The nature of this action and the nature of laws available to Plaintiff and Class

Members make the use of the class action device a particularly efficient and appropriate procedure

to afford relief for the wrongs alleged because Defendant would necessarily gain an

unconscionable advantage since Defendant would be able to exploit and overwhelm the limited

resources of each individual Class Member with superior financial and legal resources; the costs

of individual suits could unreasonably consume the amounts that would be recovered; proof of a

common course of conduct to which Plaintiff was exposed is representative of that experienced by

the Classes and will establish the right of each Class Member to recover on the cause of action

alleged; and individual actions would create a risk of inconsistent results and would be unnecessary

and duplicative of this litigation.

        79.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

        80.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.




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       81.      Unless a Class-wide injunction is issued, Defendant may continue in its failure to

properly secure the PHI/PII of Classes, Defendant may continue to refuse to provide proper

notification to Class Members regarding the Data Breach, and Defendant may continue to act

unlawfully as set forth in this Complaint.

       82.      Further, Defendant has acted on grounds that apply generally to the Classes as a

whole, so that class certification, injunctive relief, and corresponding declaratory relief are

appropriate on a class- wide basis.

       83.      Likewise, particular issues under Rule 42(d)(1) are appropriate for certification

because such claims present only particular, common issues, the resolution of which would

advance the disposition of this matter and the parties’ interests therein. Such particular issues

include, but are not limited to:

             a. Whether Defendant failed to timely notify the Plaintiff and the Classes of the Data
                Breach;
             b. Whether Defendant owed a legal duty to Plaintiff and the Classes to exercise due
                care in collecting, sharing, storing, and safeguarding their PHI/PII;
             c. Whether Defendant’s (or their vendors’) security measures to protect its network
                were reasonable in light of industry best practices;
             d. Whether Defendant’s (or their vendors’) failure to institute adequate data protection
                measures amounted to negligence;
             e. Whether Defendant failed to take commercially reasonable steps to safeguard
                consumer PHI/PII;
             f. Whether Defendant made false representations about their data privacy practices
                and commitment to the security and confidentiality of personal information; and
             g. Whether adherence to HIPAA rules and/or other data privacy recommendations and
                best practices would have prevented the Data Breach.


                                     CAUSES OF ACTION
                               (On behalf of Plaintiff and the Class)

                          COUNT 1: NEGLIGENCE/WANTONNESS



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       84.     Plaintiff re-alleges and incorporates by reference all the allegations contained in the

foregoing paragraphs as if fully set forth herein.

       85.     While providing a health care service, Defendant collects, creates, or shares

information about Plaintiff’s and Class Members’ health status, provision of health care, or

payment for health care that can be used to identify Plaintiff and Class Members.

       86.     Plaintiff and Class Members entrusted Defendant with their PHI/PII with the

understanding that Defendant would adequately safeguard their information.

       87.     Defendant had full knowledge of the types of PHI/PII it collected and the types of

harm that Plaintiff and Class Members would suffer if that data was accessed and exfiltrated by an

unauthorized third-party.

       88.     By collecting, storing, sharing, and using the Plaintiff’s and Class Members’

PHI/PII, Defendant assumed a duty to use reasonable means to safeguard the personal data it

obtained.

       89.     Defendant’s duty included a responsibility to ensure it: (i) implemented reasonable

administrative, technical, and physical measures to detect and prevent unauthorized intrusions into

its information technology and/or cloud environments; (ii) contractually obligated its vendors to

adhere to the requirements of Defendant’s privacy policy; (iii) complied with applicable statutes

and data protection obligations; (iv) conducted regular privacy assessments and security audits of

Defendant’s and/or its vendors’ data processing activities; (v) regularly audited for compliance

with contractual and other applicable data protection obligations; and, (vi) provided timely notice

to individuals impacted by a data breach event.

       90.      Defendant is a covered entity, as defined by HIPAA and, as such is required to

comply with the HIPAA Privacy Rule (“Standards for Privacy of Individually Identifiable Health




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Information”), and Security Rule (“Security Standards for the Protection of Electronic Protected

Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A, C, and E. Under these rules,

Defendant had a duty to implement reasonable and appropriate safeguards for the protected

health information under its control.

       91.     The HIPAA Breach Notification Rule, 45 C.F.R. §§ 164.400-414, requires

Defendant to provide notification no later than 60 calendar days after the discovery of an

unauthorized disclosure of unencrypted protected health information. Defendant had a duty to

notify Plaintiff and the Classes of the Data Breach promptly and adequately. Such notice was

necessary to allow Plaintiff and the Classes to take steps to prevent, mitigate, and repair any

fraudulent usage of their PII.

       92.     Defendant breached its duties under HIPAA by failing to conduct regular privacy

assessments and security audits; failing to implement reasonable safeguards; failing to encrypt

data; failing to review and modify its security measures to ensure the remain appropriate to protect

the data collected; and/or failing to timely notify Plaintiff and Class Members of the Data Breach.

       93.     Defendant also had a duty under Section 5 of the Federal Trade Commission Act,

15 U.S.C. § 45, which prohibits unfair or deceptive trade practices that affect commerce. Deceptive

practices, as interpreted by the FTC, include failing to adhere to a company’s own published

privacy policies.

       94.     Defendant violated Section 5 of the FTC Act by failing to adhere to its own privacy

policy regarding the confidentiality and security of Plaintiff and Class Members information.

Defendant further violated Section 5 of the FTC Act, and other state consumer protection statutes

by failing to use reasonable measures to protect PII.




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       95.     Defendant’s violations of HIPAA Privacy, Security and/or Breach Notice Rules,

Section 5 of the FTC Act, and other state consumer protection statutes, constitutes

negligence/wantonness.

       96.     Defendant’s failure to adhere to its data privacy and security obligations was a

reckless disregard for the Plaintiff’s and Class Members’ privacy rights. Defendant knew, or

should have known, that its failure to take reasonable precautions might result in injury to Plaintiff

and Class Members. The negligent and wanton acts or omissions committed by Defendant

includes, but is not limited to, the following:

              a. Failing to encrypt PHI/PII in transit and at rest.

              b. Failing to adopt, implement, and maintain reasonable administrative, technical,
                 and physical measures to safeguard PHI/PII.
              c. Failing to adequately assess the security of its networks and systems.
              d. Allowing unauthorized access to PHI/PII.
              e. Failing to detect in a timely manner that PHI/PII had been compromised.
              f. Failing to destroy or delete PHI/PII it was no longer required to retain.
              g. Failing to timely and adequately notify Plaintiff and Class Members about the
                 Data Breach’s occurrence and scope, so that they could take appropriate steps to
                 mitigate the potential for identity theft and other damages.


       97.     Plaintiff and Class Members were within the class of persons HIPAA and the

Federal Trade Commission Act were intended to protect and the type of harm that resulted from

the Data Breach was the type of harm the statues were intended to guard against.

       98.     The injuries resulting to Plaintiff and the Classes because of Defendant’s failure to

use adequate security measures was reasonably foreseeable.

       99.     Plaintiff and the Classes were the foreseeable victims of a data breach. Defendant

knew or should have known of the inherent risks in collecting and storing PHI/PII and the critical

importance of protecting that data.



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       100.    Plaintiff and the Classes had no ability to protect the PHI/PII in Defendant’s

possession. Defendant was in the best position to protect against the harms suffered by Plaintiff

and the Classes because of the Data Breach.

       101.    But for Defendant’s breach of duties owed to Plaintiff and the Classes, their PHI/PII

would not have been compromised. There is a close causal connection between Defendant’s failure

to implement reasonable security measures to protect the PHI/PII of Plaintiff and the Classes and

the harm, or risk of imminent harm, suffered by Plaintiff and the Classes. Defendant’s

negligence/wantonness proximately caused the Data Breach and the resulting fraud Plaintiff

experienced in her financial accounts, and other economic and non-economic losses.

       102.    As a result of the Data Breach, Plaintiff and Class Members suffered injuries

including, but not limited to: (i) invasion of privacy; (ii) theft of their PHI/PII; (iii) lost or

diminished value of PHI/PII; (iv) lost time and opportunity costs associated with attempting to

investigate/mitigate the actual consequences of the Data Breach; (v) loss of benefit of the bargain;

(vi) experiencing an increase in spam calls, texts, and/or emails; (vii) statutory damages; (viii)

actual damages; and (ix) the continued and increased risk their data will be misused, where: (a)

their data remains unencrypted and available for unauthorized third parties to access; and (b)

remains backed up under Defendant’s possession or control and is subject to further unauthorized

disclosures so long as Defendant fails to implement appropriate and reasonable measures to protect

the PHI/PII.

       103.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered because of the Data Breach.




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        104.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to: (i) strengthen its data protection procedures; (ii) patch all critical vulnerabilities; and

(iii) to provide adequate credit monitoring to all affected by the Data Breach.


                       COUNT 2: BREACH OF IMPLIED CONTRACT

        105.    Plaintiff re-alleges and incorporates by reference all the allegations contained in the

foregoing paragraphs as if fully set forth herein.

        106.    Defendant creates or collects PHI/PII in the ordinary course of providing products

or services. In so doing, Plaintiff and Class Members entered implied contracts with Defendant by

which Defendant agreed to use reasonable technical, administrative, and physical safeguards to

protect against unauthorized access to, use of, or disclosure of the confidential information it

collects and stores.

        107.    Plaintiff and Class Members would not have entrusted their PHI/PII to Defendant

in the absence of an expressed or implied promise to implement reasonable data protection

measures.

        108.    Plaintiff and Class Members fully and adequately performed their obligations under

the implied contract with Defendant.

        109.    Defendant breached the implied contract with Plaintiff and Class Members which

arose from the course of conduct between the parties, as well as disclosures on the Defendant’s

web site, privacy policy, and in other documents, all of which created a reasonable expectation

that the personal information Defendant collected would be adequately protected and that the

Defendant would take such actions as were necessary to prevent unauthorized access to, use of, or

disclosure of such information.




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         110.   As a direct and proximate result of the Defendant’s breach of an implied contract,

Plaintiff and Class Members suffered injuries including, but not limited to: (i) invasion of privacy;

(ii) theft of their PHI/PII; (iii) lost or diminished value of PHI/PII; (iv) lost time and opportunity

costs associated with attempting to mitigate the actual consequences of the Data Breach; (v) loss

of benefit of the bargain; (vi) experiencing an increase in spam calls, texts, and/or emails; (vii)

statutory damages; (viii) nominal damages; and (ix) the continued and increased risk their data

will be misused, where: (a) their data remains unencrypted and available for unauthorized third

parties to access; and (b) remains backed up under Defendant’s possession or control and is subject

to further unauthorized disclosures so long as Defendant fails to implement appropriate and

reasonable measures to protect the PHI/PII.

         111.   Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to: (i) strengthen its data protection procedures; (ii) patch all critical vulnerabilities; and

(iii) to provide adequate credit monitoring to all affected by the Data Breach.


                              COUNT 3: UNJUST ENRICHMENT

         112.   Plaintiff re-alleges and incorporates by reference all the allegations contained in the

foregoing paragraphs as if fully set forth herein.

         113.   Plaintiff brings this Count in the alternative to the breach of implied contract count

above.

         114.   By providing their PII, Plaintiff and Class Members conferred a monetary benefit

on Defendant. Defendant knew that Plaintiff and Class Members conferred a benefit upon them

and have accepted and retained that benefit.




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           115.   By collecting the PII, Defendant was obligated to safeguard and protect such

information, to keep such information confidential, and to timely and accurately notify Plaintiff

and Class Members if their data had been compromised or stolen.

           116.   Defendant failed to secure Plaintiff’s and Class Members’ PII and, therefore, it

would be unjust for Defendant to retain any of the benefits that Plaintiff and Class Members

conferred upon Defendant without paying value in return.

           117.   As a direct and proximate result of the Defendant’s conduct, Plaintiff and Class

Members suffered injuries including, but not limited to: (i) invasion of privacy; (ii) theft of their

PII; (iii) lost or diminished value of PII; (iv) lost time and opportunity costs associated with

attempting to mitigate/investigate the actual consequences of the Data Breach; (v) loss of benefit

of the bargain; (vi) longer wait times and/or delayed medical procedures; (vii) statutory damages;

(viii) actual damages; and (ix) the continued and increased risk their PII will be misused, where:

(a) their data remains unencrypted and available for unauthorized third parties to access; and (b)

remains backed up under Defendant’s possession or control and is subject to further unauthorized

disclosures so long as Defendant fails to implement appropriate and reasonable measures to protect

the PII.

           118.   Plaintiff and Class Members are entitled to full refunds, restitution, and/or damages

from Defendant and/or an order proportionally disgorging all profits, benefits, and other

compensation obtained by Defendant from its wrongful conduct.


                               COUNT 4: INVASION OF PRIVACY

           119.   Plaintiff re-alleges and incorporates by reference all the allegations contained in the

foregoing paragraphs as if fully set forth herein.




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       120.     Plaintiff and Class Members had a legitimate expectation of privacy in their

protected health information and other personally identifying information such as Social Security

numbers, dates of birth, and medical information. Plaintiff and Class Members were entitled to

the protection of this information from disclosure to unauthorized third parties.

       121.     Defendant owed a duty to Plaintiff and Class Members to keep their PHI/PII

confidential.

       122.     Defendant permitted the public disclosure of Plaintiff’s and Class Members’

PHI/PII to unauthorized third parties.

       123.     The PHI/PII that was disclosed without the Plaintiff’s and Class Members’

authorization was highly sensitive, private, and confidential. The public disclosure of the type of

PHI/PII at issue here would be highly offensive to a reasonable person of ordinary sensibilities.

       124.     Defendant permitted its information technology environment to remain

vulnerable to foreseeable threats, which created an atmosphere for the Data Breach to occur.

Considering the frequency of data breaches, and ransomware attacks, in the healthcare industry,

Defendant was substantially certain that the failure to properly secure PHI/PII, would lead to the

unauthorized access and disclosure of that information. Despite knowledge of the substantial

risk of harm created by these conditions, Defendant intentionally disregarded the risk, thus

permitting the Data Breach to occur.

       125.     By permitting the unauthorized disclosure, Defendant acted with reckless

disregard for the Plaintiff’s and Class Members’ privacy, and with knowledge that such

disclosure would be highly offensive to a reasonable person. Furthermore, the disclosure of the

PHI/PII at issue was not newsworthy or of any service to the public interest.




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        126.     Defendant was aware of the potential of a data breach and failed to adequately

safeguard its systems and/or implement appropriate policies and procedures to prevent the

unauthorized disclosure of Plaintiff’s and Class Members’ data.

        127.    Defendant acted with such reckless disregard as to the safety of Plaintiff’s and

Class Members’ PHI/PII to rise to the level of intentionally allowing the intrusion upon the

seclusion, private affairs, or concerns of Plaintiff and Class Members.

        128.    Plaintiff and Class Members have been damaged by the invasion of their privacy

in an amount to be determined at trial.

               COUNT 5: VIOLATION DECEPTIVE TRADE PRACTICES ACT

        129.    Plaintiff re-alleges and incorporates by reference the paragraphs above as if fully

set forth herein.

        130.    Plaintiff and Class Members are consumers of Defendant’s services. Defendant

requires its customers, including Plaintiff and Class Members, to submit PII/PHI in the ordinary

course of providing medical services.

        131.    Defendant gathered and stored the PII/PHI of Plaintiff and Class Members as part

of its business. Plaintiff and Class Members entrusted Defendant with their PII/PHI with the

understanding that Defendant would adequately safeguard their information.

        132.    Under Section 5 of the Federal Trade Commission Act, 15 U.S.C. § 45, which

prohibits unfair or deceptive trade practices that affect commerce. Deceptive practices, as

interpreted by the FTC, include failing to adhere to a company’s own published privacy policies.

Such behavior by Defendant also constitutes a false, misleading, or deceptive act under

Connecticut’s Unfair Trade Practices Act (CUTPA) CGS § 42-110 et seq.

        133.    Defendant violated the state consumer protection statute by failing to adhere to its

own privacy practices regarding the confidentiality and security of Plaintiff’s and Class


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Members’ information. Defendant further violated the state consumer protection statute by

failing to use reasonable measures to protect PII.

       134.    Defendant’s conduct created a likelihood of confusion or misunderstanding

regarding its actual data privacy and security practices. Defendant promised to protect Plaintiff’s

and Class Members’ PII/PHI via its privacy policies, but allowed the unauthorized access to this

personal and protected health information; Defendant failed to disclose material facts that the

Plaintiff’s and Class Members’ PII/PHI would be disclosed to unauthorized third parties;

Defendant failed to obtain Plaintiff’s and Class Members’ consent in transmitting their PII/PHI

to a third party; and knowingly violated industry and legal standards regarding the protection of

Plaintiff’s and Class Members’ PII/PHI.

       135.    Defendant’s unfair or deceptive acts affected public interests, including those of

Plaintiff and Class Members. Defendant knew or should have known that it was likely to mislead

its customers who were acting reasonably. Defendant engaged in unfair or deceptive practices by

breaching its duties to provide technical and organizational data security policies, procedures,

and practices. Defendant’s failure to adhere to its published privacy policies and procedures is

offensive to established public policy and is substantially injurious to consumers as evidenced

by the massive Data Breach.

       136.    Had Plaintiff and Class Members known Defendant would not follow its own

published security practices they would not have purchased (or continued to purchase)

Defendant’s products or services. Defendant’s deceptive acts, as described herein, proximately

caused Plaintiff and Class Members damages.

       137.    As a direct and proximate result of the Defendant’s conduct, Plaintiff and Class

Members suffered damages including, but not limited to: (i) invasion of privacy; (ii) theft of their




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PII; (iii) lost time and opportunity costs associated with attempting to investigate/mitigate the

actual consequences of the Data Breach; (iv) mitigation costs and expenses; and (v) attorneys’ fees

and court costs.

       138.    Plaintiff alleges that Defendant’s data security measures remain inadequate.

Plaintiff will continue to suffer injury because of the compromise of their PHI/PII and remain at

imminent risk that further compromises of their PHI/PII will occur in the future.

       139.    Plaintiff and Class Members have suffered irreparable injury, and will continue to

suffer injury in the future, because of Defendant’s deceptive trade practices, which places Plaintiff

and Class Members at imminent risk that further compromises of their PII will occur in the future.

As such, the remedies available at law are inadequate to compensate for that injury. Accordingly,

Plaintiff and Class Members also seek to obtain a judgment declaring, among other things, the

following:

              a. Defendant continues to owe a legal duty to secure PHI/PII and to timely notify
                 consumers of a data breach under the common law, HIPAA, Section 5 of the
                 FTC Act, and various state statutes.

              b. Defendant continues to breach this legal duty by failing to employ reasonable
                 measures to secure Plaintiff and Class Members’ PHI/PII.

       140.    The Court also should issue corresponding prospective injunctive relief requiring

that Defendant employs adequate data protection practices consistent with law and industry

standards.

       141.    The hardship to Plaintiff if an injunction is not issued exceeds the hardship to

Defendant if an injunction is issued. Among other things, if another massive data breach occurs,

Plaintiff will likely be subjected to fraud, identity theft, and other harms described herein. On the

other hand, the cost to Defendant of complying with an injunction by employing reasonable

prospective data security measures is relatively minimal, and Defendant has a pre-existing legal



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obligation to employ such measures.

        142.       The issuance of the requested injunction will not do a disservice to the public

interest. To the contrary, such an injunction would benefit the public by encouraging Defendant

to take necessary action to prevent another data breach, thus eliminating the additional injuries

that would result to Plaintiff and the multitude of individuals whose PII would be at risk of future

unauthorized disclosures.

        143.       As a result of the Defendant’s false, misleading, or deceptive acts, regarding its

data security practices, the consuming public in general, Plaintiff, and Class Members suffered

injuries including, but not limited to, the future and continued risk their PII will be misused,

where: (a) their data remains unencrypted and available for unauthorized third parties to access;

and (b) remains under Defendant’s possession or control and is subject to further unauthorized

disclosures so long as Defendant fails to implement appropriate and reasonable measures to

protect the PII.

        144.       Plaintiff and Class Members are entitled to attorneys’ fees, costs, and injunctive

relief requiring Defendant to: (i) strengthen its data protection procedures; (ii) implement strong

authentication mechanisms for accessing cloud services; and (iii) to provide adequate dark web

monitoring and/or credit monitoring to all affected by the Data Breach.



                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, individually and on behalf of the other members of the Classes

alleged herein, respectfully requests that the Court enter judgment as follows:

         A.        For an order certifying the Class under Rule 23 of the Federal Rules of Civil
                   Procedure and naming Plaintiff(s) as the representatives for the Classes and counsel
                   for Plaintiff(s) as Class Counsel;



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         B.     For an order declaring the Defendant’s conduct violates the statues and causes of
                action referenced herein;
         C.     For an order finding in favor of Plaintiff and the Classes on all counts asserted
                herein;
         D.     Ordering Defendant to pay for lifetime credit monitoring and dark web scanning
                services for Plaintiff and the Class;
         E.     For compensatory, statutory, and punitive damages in amounts to be determined by
                the Court and/or jury;
         F.     For prejudgment interest on all amounts awarded;
         G.     For an order of restitution and all other forms of equitable monetary relief requiring
                the disgorgement of the revenues wrongfully retained as a result of the Defendant’s
                conduct;
         H.     For injunctive relief as pleaded or as the Court may deem proper; and
         I.     For an order awarding Plaintiff and the Class their reasonable attorneys’ fees and
                expenses and costs of suit, and any other expense, including expert witness fees;
                and
         J.     Such other relief as this Court deems just and proper.

                                       DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of all

claims in this Complaint and of all issues in this action so triable as of right.

Dated: April 22, 2025.
                                                        By: /s/ Jeremy C. Virgil
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